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lN THE UNH`ED STATES DI'STRICT COURT §
FOR THE NORTHBRN DlSTRlCT OF Ol HQ H .; nw ii in 0
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CHRISTOPHER NIETA ) " - 1 ij :\ lll{_ii§ z ;F}i{ l 1|{‘ ij {i':.r
) CAsE No. 4114-@\1-0332 *HU
Plaintiff, )

) JUDGE DONALD V. NUGENT
v.

TARGET CORP., et al.,

Det`endants.

OBJEC'l`OR ERICH NEUMANN’S
REPLY 'I`O PLAINTIFF’S RESPONSE 'I`O ()BJECTIONS

I. INTRODUCTION

Class Member Objector Erieh Neumann, Esq. (“Objector”) hereby submits this reply
memorandum in opposition to Plaintiff’s Motion for Final Approval of Class Settlement and
Response to Objections (ECF No. 176) (“Plaintiff’s l\/lotion”). ln opposition to Plaintift`s Motion,
Ob_iector incorporates (but will not repeat here) his previous arguments in opposition to Plaintit`t"s
Motions for Preliminary Approval and Attorney’s Fees (ECF No. l74) (“Neumann Objection”).
Here, Objector specifically replies to the arguments in Plaintit`t"s Motion made with respect to the
Neumann Objection. Plaintiff’s Motion at 36-41.' For all of the reasons provided belo\v, coupled

with those provided in the Neumann Objeclion, the Court should deny Plaintift`s Motion.

 

' Page numbers referenced will be those assigned by the Court’s ECF systcm.

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II. LAW AND ARGUMEN'I`

A. The Class Definition Excludes Dual Purchascrs, and Piaintif`f"’s Arguments to
the Contra ry are Completely Irrelevant.

For all of the reasons provided belo\-v, the Class Definition can only be interpreted
according to its plain language excluding Dual Purchasers. lt is therefore deficient and Rule 23’s
Notice requirements are not met. Plaintiff’s arguments to the contrary (Pl. Mot. at 37-38) are
largely irrelevant and otherwise unavailing Notably, “[t}he interpretation of a class definition is a
question of law that [U.S. appellate courts] review de novo.” fn re 1’\/[0!0:"0}0 Secm-'ifies Lr'lig_, 644
F.3d 51 l, 516 (7th Cir. 2011).

1. The plain language of the Class Defiuition excludes Duai Purchasers.

Though stating in conclusory fashion that Objector “\villfully misreads” the Class
Definition (Pl. Mot. at 37), it is Plaintiff that Willfully avoids analyzing the Class Definition’sp!ain
language in its brief. Id. at 3?-38. lt is not a “\villful misreading” of the phrase “the settlement
specifically excludes purchasers of Nice-Pal<’s ‘Sigma’ tbrmulation” to mean that the settlement
specifically excludes purchasers of Nice-Pak’s ‘Sigma’ formulation This is not a matter of
ambiguity; but rather one of applying the words of the Ciass Definition in their most obvious literal
sense. Despite Plaintiff’s suggestions to the contrary, Words have meaning. The parties’ decision
to adopt language that “the settlement specifically excludes purchas@ of Nice-Pak`s ‘Sigma’
formulation” (rather than purchas_e_s) is material and dooms any settlement that would operate to
waive claims by Dual Purchasers.

2. Extrinsic evidence (such as the claim form) cannot rewrite the plain
language of the Class Definition.

Attempting to redirect the Court’s attention away from the plain language of the Class
Delinition, Plaintiff suggests that extrinsic evidence and other extraneous material provided to

Class Members (name|y, the claim form) operates to trump the Class Definition’s plain language

2

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Pl. Mot. at 37. This argument is legally baseless, as the plain language of the Class Definition and
settlement agreement cannot be rewritten based on extrinsic evidence. See, e.g., [n re Ceiuenl and
Concrete Antz'frzrs/ Liiig., 817 F.Zd 1435, 1442-43 (9th Cir. 1987) (starting with the plain language
of the class definition in reviewing a lower court’s interpretation of an existing class definition),
vacated on other gromm's, 940 F.Zd 1583 (9th Clr.lQQl); see also Gzzlr`no v. Bd. QfEc/z/e. Q/`City
Sc!i. D:'st. QfCr'fy ofNew l’ork, No. 96-84l4, ZOIS WL 5603020, at *3 (S.D.N.Y. Sept. 21, 2015)
(rejecting “interpretation of the class definition [that] contradicts the plain reading of the

definition”).

3. Alternatively, other ‘extrinsie evidence’ provided to Class Members
underscores the exclusion of Dual Purchasers.

Alternatively, even if the Court were to consider extrinsic evidence (which it should not
given the plain language of the Class Definition), the majority of extrinsic information provided
to putative Class Members underscores the exclusion of Dual Purchasers from participating in the
settlement Plaintiff cites the claim form, but ignores other materials (\-vhich are meant to be
reviewed before proceeding to the claim form), which (lil<e the Class Definition) reinforces the
exclusion of Dual Purchasers.

First, the “Notice of Proposed Class Action Settlement” states that the “Class specifically
excludes purchasers of Nice-Pak’s ‘Sigma’ formulation and subsequent product formulations of
Up & Up flushable toddler wipes” and that the person receiving notice may be entitled to receive
compensation if (among other things) “you are a Class iviember[.]” ECF No. t69~2 at 51.

Sccond, the “Frequently Asked Questions” on the settlement website, answering the
question “How do l know if l am a member of the settlement class?”, responds in part by stating
that “[t]he settlement specifically excludes purchasers chice-Pak’s “Sigma” formulation and

subsequent product formulations of Up & Up Flushable toddler wipes.” Settlement Websitc FAQ,

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attached hereto as Exhibit “A” at 1. The FAQ foes on to say that settlement funds “may” be
available for “eligible” class members Icl. at 2.

Obviously, the Notice and PAQ are meant to be read before a putative Class l\/Iember elects
to submit a claim (and hence turn to the Claim Form on which the Plaintiff relies). Plaintiff`s
reliance on extrinsic materials is misplaced, both legally and factually

4. It is irrelevant that Notice was sent to Dual Purchasers.

Plaintiff also suggests that membership in a Class is confirmed not by the content of the
Notice, but by the mere fact that the Notice (despite its content) was received by a putative Class
l\'iember. Plaintiff’s argument is belied by its own Notice program, whereby “Defendants
estimated that the Class consists of approximately 538,710 individuals” but the claims
administrator sent “direct notice to approximately 1,192,”/'38 individuals who purchased qualifying
products and similar flushable wipes products during the class period.” Pl. l\/lot. at 15»16.

This contention is also without legal merit and files in the face of Rule 23, which requires
notice to “ciearly and concisely state in plain, easily understood language...the definition of the
class certified[.]” Fed. R. Civ. P. 23(2)(}3). Notice must “‘fairly apprise the prospective members
of the class of the terms of the proposed settlement’ so that class members may come to their own
conclusions about whether the settlement serves their interests." InI!. Um‘on, United Aufo.,
Aerospoce, and/iga lmplement i'l/orkers qum. v. Gen. ri/Io!or.s' Corp., 497 F.3d 615, 630 (oth Cir.
200?) (emphasis added) (quoting Gz‘mn'n v. lit!'!' Honse och/ncoke.s', 513 F.2d 1 14, 122 (Sth Cir.
1975)).

lt is the content of the Notice-~~most notably the Class Definition_that must apprise
prospective class members of, among other issues, their membership in the class. The mere fact
that notice is provided is irrelevant. This obvious point is underscored by the Notice itself, which

instructs putative class members to “read this notice carefully” as they “may be eligible for

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benefits” and their rights “may be affected by the Settlement.” Class Notice, ECP No. 169-2 at 50
(emphasis added). Nothing in the Notice would lead a putative Class Member to believe they were

automatically entitled to recover simply because they received Notice.

5. Whetlier Dual Purchasers who make clai.'us are actually paid is
irrelevant since the Class Definition operates to suppress their claims
in the first piaee.

As noted above, Plaintiff’s silence on the plain language all but concedes that the Class
Definition excludes Dual Purchasers. But, Plaintiff pleads, this is excused because those Dual
Purchasers who ignore the plain language of the Class Deiinition, Notice, and “Frequently Asl<ed
Questions” and nevertheless proceed to submit an ostensibly excluded claim will be reimbursedl

Plaintiff’s reasoning is again irrelevant and ignores the fundamental objective of Rule 23’3
Notice reql.tirement.2 W hether or not Dual Purchasers are actually compensated is irrelevant to the
question of whether Dual Purehascrs can reasonably ascertain their membership in the Class in thc
first instance. Dual Purchasers who rely on the plain language of the Class Definition and
determine they are not eligible to participate in the settlement (and submit no claim) receive no
benefit Unbel<nownst to them, however, they have forever waived their legal rights.3

B. In Choosing Between the Lodestar and Pereentage of the Fllntl Methods, tire
Court Should not Al)dicate its Respousibility to Reasonably Deterinine the
Results Aci'rml[y /lchieverl for the Class.

Ob_iector is nol, as Plaintiff claims, “assert[ing] that the Sixth Circuit requires courts to

make an attorneys’ fee award based on the amount of funds claimed by the ciass.” Pl. Mot. at 38.

2 As noted by one court, “{t}his notice requirement stems from the text of Rule...and more
fundalnentally, from due process requirements A cause of action is a property right, and a property right
may only be extinguished under a procedure that satisfies due process In re: Wlu`r[poof Corp. throatj
loading l'l’osher products Liab. Litig., No. 08-65000, 20l6 WL 53380{2, at *8 (N.D. Ohio Sept. 23, 20i6)

3 Simi |arly unpersuasive is Plaintiff"s argument that the purported claims participation rate ot`6.7 percent
(Pl. Mot. at 37) somehow excuses the harm done to putative Dual Purchaser Class Members whose claims
are released without their knowledge due to their understanding that they are not eligible to participate in
the settlement

 

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Objector agrees that the Court may choose between the lodestar or fund percentage approach, but
notes that the Sixth Circuit mandates the decision be based on a detailed analysis of various factors,
first and foremost among them the “the results achieved” for the Class. Neumann Obj. at 4-5 (citing
Rat-v!tngs v. PrtzcteatiaZ-Bactie Pi'operttes, luc., 9 F.?>d 5 l 3, 516 (6th Cir. 1993)). 'l`hus, in the rare
instances of an uncapped fund settlements, courts must “proceed with care in assessing the value
conferred on class members.” Fed. R. Civ. P. 23 Adv. Cmte. Notes, Subdivision (h).

Plaintiff cites two and only two cases for the proposition that “courts in the Sixth Circuit
typically utilize the lodestar method in claims made settlements.” Pl. l\/iot. at 38, citing ECF No.
176 at 4-6. But in both cases, the district courts carefully examined, considered and relied upon
the actual amount paid to Class ila'etnbers in determining: (a) whether to adopt the lodestar or
percentage fund method; and (b) how to measure the c‘results achieved” (actual payments to Class
versus total available benelit). See 111 re.' i'lfht`rtpoo[ Corp. Fi-'ont~z’oading l'l/a.s'tier Proa'acls Ltab.
Li'ttg., l\lo. 08-65000, 2016 WL 5338012, at *5-6 (N.D. Ohio Sept. 23, 20l6) (determining actual
payment to be between 314.5 and Slé million)',4 Gasctio v. Gtob. Ft`tne.s's Hotctings, LLC, 822 F.3d
269, 275-76 (6th Cir. 2016) (noting district court determined actual class payment to be
31,593,240, and “split the difference” between that and the total “available benefit” to the Class).

l~lere, the Court does not have this information, and is thus not equipped to undertake the

analysis done by the l'V/iir!poo/ and Gasclia courts Unlil<e i'l/ht`r!poo] and Gascho, Plaintiff here

 

4 At the time ofthe fairness hearing, 202,000 persons claimed a $50 payment, 29,000 persons claimed a
20% rebate worth between 3127‘ and $i 70, and 12,000 persons claimed a 5% rebate worth between 364 and
$85. The Settlement Administrator predicted that the number of claimants to grow another 17.6 percent,
and thus the total settlement value estimated to be paid to the Class between was between $i? and $18.8
miliion. The Court awarded $6.7 million in attorney’s fees Thus, after deduction for costs, class counsel’s
fee award amounted to 26~28 percent of the funds expended by defendants (the rest going to the class).

lt must also be noted that in l'V/iirr"pooi, class counsel was awarded only 20 percent of their actual
lodestar. ]a’. at °-"22.

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has been coy with its “cstimates” (which have varied wildly due to outrageous assumptions and
allegations of widespread fraud in the claims process). While Plaintiff refers to “36,237
presumptively valid claims” with respect to the number of Class Members, it does not provide
information as to the total amount claimed by those “presumptively valid” claims, though this
information could easily (and likely instantly) be provided by the claims administrator.

The Court should decline Plaintifl`s invitation that this Court to skip the detailed analysis
undertaken by both the l'l”'!itrtpoo/ and Gascho courts, which is required under the Sixth Circuit’s
Rawlt`ngs decision. The Court should consider the actual amounts paid to Class Members, which

it is unable to do at this time.

C. Alternatively, in Assessing the Benefit Conferred to the Class, the Court
Should not Adopt the ‘Available Benefit’ Approach Utilized by the Distriet
Court in Gasc:'m.

Alternatively, even if the Court were to determine that it did have sufficient information
(which it does not) to (a) decide between the lodestar and fund percentage methods and (b) decide
how to measure the benefit conferred to the Class, it should not (with respect to the latter) use the
‘available benefit’ yardstick utilized by the district court is Gascho. Not only is that method less
equitable than a ‘total amount paid’ cross-check, there are unique circumstances here

distinguishing this case from Gasctro - factors raised directly by the Sixth Circuit.

I. The Sixth Circuit did not specifically adopt the ‘availahle benefit’
standard.

As an initial matter, it must be emphasized that the Sixth Circuit in Gasclio did not adopt
the ‘available beneiit’ standard (as a denominator for a percentage of the fund cross-checl<), but
rather held that it was within the district court’s discretion to use that standard Gasclio, 822 f".3d
at 2?8. “Because a settlement addresses the particular facts of and parties in a case, calculation of

the denominator is necessarily case specitic.” tal. at 282. lndeed, with respect to the district court’s

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methodology (which Plaintiff asks this Court to adopt), the Sixth Circuit noted that “[a}s a general
matter, this procedure presents concerns and we do not endorse a rule adopting a ‘midpoint’
calculation.” Ia'. at 288.

'l`he Court should not, in its discretion, adopt the ‘availablc benefit’ denominator. lt is
inherently less equitable when compared to a ‘funds actually paid’ approach.5 Further, as noted
below, the facts surrounding the settlement in Gascha are distinguishable from those here,
rendering the ‘available benefit’ method inappropriate

2. Unlike Gascha, which involved a contractual dispute with records
identifying all Class l\'leinbers, the Class size here cannot be determined
with aceuracy.

Gasclro involved a dispute over membership contracts, and thus the parties could determine
the Class size with pinpoint accuracy.6 This in turn allowed for a precise valuation as to the
‘available benefit’ to the Class.

This is not the case here. While Target “estimates” the Class size to be 53 8,7i0, it has no
way of knowing this with any certainty. lndeed, Plaintiff claims that one factor Target used in
estimating the Class size was “Plaintiff`s testimony regarding purchasing patterns[.]” Pl. Mot. at
15. There is no basis to assume that the Plaintiff’s purchasing patterns were identical (or even
substantially similar) to all putative Class l\flembers. Further, while some customers may enter a
rewards number, or purchase products online, others may pay in cash or credit card.7 lndeed,

'l`arget has not provided any detailed basis for its class size estimate. Since only twenty purchases

 

5 Objector respectfully refers the Court to Jtidgc Clay’s dissent in Gascho, 822 F.Bd at 294-304.

6 See generalt`y, Gascho v. G/ab. Ft`tuess Hot'dings, LLC, No. 11»436, 20l4 WL l350509 {S.D. Ohio
Apr. 4, 2014)(1'eport and reconnnendation).

7 1\'ierchants cannot legally retain personally identifiable information pursuant to a credit card
transaction

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may be compensated under the settlement without proof-of-purchase, the Class size is of
paramount importance here in determining the ‘available benefit’ to the Class.3

Allowing the parties to ‘guesstimate’ class size as a way of measuring the ‘total available
benefit’ to the Class presents an incredible risk for collusion Courts cannot permit attorneys’ fees
to be based on a Class size number that is arbitrarily selected by the parties As noted in Gascho,
where such concerns were not at issue, “[a] case-by~casc approach allows a reviewing court to
address the varying danger of tacit collusion between the parties[.]" Ial. at 284.

There is data here indicating that the Class Size may be grossly exaggerated Plaintil`fbrags
about the 0.00037 percent opt»our rate as being far lower than that seen in other class actions Pl.
l\'lot. at 27. lndeed, empirical studies have found consumer class action opt-out rates to average
0.2 percent9 Frankly, there is nothing so remarkable about a $l.35 gift card settlement that one
would expect opt-cuts to occur at l/s¢u) (l/S40tl1) the rate than is typically seen in consumer class
actions. Thefat‘ more liker scenario is that the Class size is either grossly inflated, or the notice
program failed to reach a significantly large number of Class Members (or Dual Purchasers
thought they were excluded). Either instance weighs heavily against adoption of the ‘available
benefit’ yardstick.

3. The ‘available benefit’ cannot be determined since Dual Purehasers are
excluded from the Class; or, alternatively, would be confused as to their
class membership status.

lt is axiomatic that the value of the settlement to either non»Class lvlembers or putative

Class l\/lembers who are led to believe they arc not in the Class (due to sloppy Class Defmition

 

8 Even P|aintiff acknowledges that it is highly unlikely that any Class lvlembers will have itemized
receipts for more than 20 purchases spanning back years

9 'l`. Eisenberg & G. l\/liller, The Role ofOpt-Outs and Objectors in Class Actton Litigation: theoretical
and Enn)ii'icat' ]s.s'ues, 57 Vand. L. Rev. 1529, 1549 (2004), avail. at littps://schoiarship.iaw.cornell.edu/
cgl/viewcontent.cgi?article:l 3 62&context;facpub.

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drafting) is zero. Therefore, even if the Court were to rely on the number of units sold instead of
Class size (which it should not, given the proof~ot`"ptn‘chase requirement), the ‘available benetit’
l cannot be determined because a number of those units would be tied to Dual Purchasers who are
excluded (or reasonably believe themselves to be excluded) from the Class. m

ln holding the district court did not abuse its discretion, the Sixth Circuit specifically noted
that the ‘available benefit’ methodology would likely be inappropriate in cases where the claims
process presents “information in a confusing way.” ld. at 287'-88. This would naturally extend to
a poorly drafted Class Detinition that would lead reasonable Class t\/Iembers to believe they were
excluded from the Class. ll

Thus, while the Sixth Cii'cuit noted that Class l\/iember confusion was not an issue in the
Gcischo case (r'ct'. at 288), the same cannot be said here. Even if Dual Purchasers are included in
the Class (which they are not), many Dual Purchasers reviewing the notice many nevertheless
interpret “the settlement specifically excludes purchasers of Nice-Pak’s ‘Sigma’ formulation” as
excluding them from the settlement At the very least, there is a real risk of confusion given the
plain language of the Class Delinition. This case is therefore distinguishable from Gasc/to, and the
‘available bcnetit’ method is inappropriate

4. Unlike herc, direct notice in Gasclzo was achieved for over ninety
percent of Class Members.

One factor the Sixth Circuit noted in approving the district court’s methodology was the
fact that over ninety percent of the Class l\/lembers in Ga.s'c!ro received direct mail notice (by

postcard). lai at 289. Herc, there is no indication as to the extent by which direct notice to Class

 

“’ This is also supported by the suspicious and highly unusual low opt-out rates described above.

il Further, as explained be|o\v, the 80 percent claim reiectiognmijate is evidence that the claims process is
flawed in many respects, including possible confusionl

10

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l\/lembers was actually achieved Plaintii"f states that l.l million entails were sent to “individuals
purchasing qualifying products and similar llushable wipes products”, but is coy about the actual
number of Class Members who purchased the products that Target can say with certainty were
included in that email blast (elsewhere, Plaintift` suggests that direct notice was achieved for
280,000 Class l\'lembers, far less than the estimated 538,?'10 Class size).12 Thus, insofar as the
success of a direct notice program is a factor supporting the Gascho ‘available benetit’
methodology, the facts here weigh against its adoption
5. Unlike in Gasclm, there is a proof-of-pm'chase requirement in this case.
Another important distinguishing characteristic between this settlement and the one at issue
in Gnscho is the proof-of-purchase requirement According to the Sixth Circuit, “[a]lthough we
decline to adopt a categorical rule {against ‘availahle benefit’ valuations], we recognize the validity
of the dissent’s concern about settlement structures that are contrived to discourage claims.” Id. at
287. One such example, the Court noted, is where a settlement requires claimants to have receipts
or other proofs-of-purchase. Ia'. (citing fn re Dry ilJa,\' Pampers Lil)`g., 724 F.3d 713, 718 (6th Cir.
2013)). T his is yet another factor cited by the Gasc}io Court that weighs against adoption of the
‘available benefit’ methodology in this case.

6. The eighty percent claim rejection rate in this case weighs against
adoption of the ‘available benefit’ yardstick.

The staggering rejection rate_nem'[y eighty (80) percenleof claims made in this case thus

far raises concerns which should prompt the Court to avoid the ‘available benefit’ measure of

 

12 Finnegan Decl., ECF No. 169-4 at ‘l[ 15.

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settlement value.'3 'l`his is yet another distinction from Gascho, where only four (4) percent of
claims were denied w

While there is no evidence that these claims were improperly denied, it is nevertheless
important in a settlement exhibiting such high rates of claim denials that Class Counsel has an
interest in aggressiver monitoring the claims process to ensure that all valid claims are paid. But
here, the attorney fee calculation proposed by Plaintiff provides no incentive for Class Counsel to
represent the interest of potential claimants with denied claims; and, predictably, Class Counsel
has done nothing to investigate whether the eighty percent rejection rate is warranted One wonders
if Class Counsel would be similarly indifferent if every denied claim meant less attorney’s fees.

This underscores another important distinction between this case and Gnsch‘o. in Ga.s'c/io,
the names of every class member were known to the parties and claim administrator. Thus, putative
class members needed only to prove their identity to participate in the settlement f a low threshold
which gave little discretion to the claims administrator to deny claims Here, by contrast, the claims
administrator is given much wider latitude to deny claims, since the specific identities of Class
Members are not l<nown. Thus the potential for ‘moral hazard’ associated with claims process
gamesmanship plays a far larger role in this case than it did it Gc.'.s'c}?o.

7. Unlike Gasclw, the settlement website in this case omitted key
information

The Sixth Circuit specifically noted that the ‘available benefit’ method would be

inappropriate in instances where there are “wel)sites that appear designed to confuse class

 

'3 Ot`the l70,542 filed clailns, the claims administrator flagged l34,305 claims as not valid. Prutsman
Decl., ECF No. i76-2, at il 9. Further, Plaintiff` notes that of the remaining 20 percent oi`clairns, they are
still “subject to validation”, implying that yet another round of claim rejections may be on the horizon. Pl.

Mot. at 27.

14 Gascho v. Gio.bnl Firness HO/dings, LLC, l\io. l l-426 (S.D. Oltio lan. 23, 20 l4) (Decl. ofJeffrey Dah|,
ECF No. l26-l , at 1l1l32-33) (2,l75 claims rejected out of5 l ,618 total claims)

12

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members, either by omitting information on the claims process or by presenting this information
in a confusing way.” Gascho, 822 F.3d at 287-88. As explained in greater detail below, this is
precisely what happened in this case, distinguishing this case from Gasclro and further rendering
the ‘available benetit’ method inappropriate

D. Plaintiff Still Refuses to Disclose tile Amount of Money that will Currently be
Paid to Class Members.

'l`ellingly, though the information could be instantly provided by the settlement
administrator, Plaintiff withholds the actual amount of funds expected to be paid based on the
current number of ‘presumptively valid’ claims Plaintiff is intentionally ambiguous as to whether
the “36,237 presumptively valid claims” refers to number of Class Members making claims, or the
number of units for which compensation is sought. Though the undersigned raised this issue in his
original objection, Class Counsel opted not to clarify. Neumann Obj. at 7 (fn. 8). insofar as the
36,237 number refers to the number of Class lviembers making claims, Plaintiff has not provided
the number of total units for which compensation is sought.

Plaintiff‘s reluctance to provide this information is illuminating Even assuming all of the
‘presumptively valid’ claims are ultimately deemed valid, the financial value to the Class may be
$48,9l9l (if“claims” refers to the number of units), or approximately 8503,875 (if “claims" refers
to the number of Class Members). 15 'l`hese numbers are dwarfed by the amount of attorneys’ fees

isought in this case (31,361,890), which the Court should at least take into consideration when

deciding on how Class Counsel is to be compensated

 

15T hese calculations utilize the tiSl .35 gift card as the measure of compensation for each unit purchased
With respect to the estimated number of units per class member ( l 0.3), this number is arrived at by dividing
Defeltdaiit’s estimate of the number of wipes sold during the Class Period by [)efendant’s estimate of the
number of Class l\'lelnbers.

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ln any event, the Court has a right (if not an obligation) to analyze the actuai payments
expected, no matter what measure of fees it ultimateiy decides upon. Plaintifi`s reluctance to be
more forthcoming with the Court_with information that was provided and analyzed by both the
Whir/poo[ and Gasc/to courts_should make the Court very wary of Piaintiff`s proposed fee

Sil`LlCi.lll‘B.

E. Plaintifi' does not Disputc the Settlement Website’s Deficiencies, which are
Partieularly Materiai in ‘Available Bcnefit’ Cascs.

Plaintiff does not dispute the deficiencies in the settlement website highlighted in
Objector’s Juiy 31'd objection Plaintiff also admits that it waited weeks to update inaccurate
information on the website, and further failed to comply with this Court’s Aprii 4, 2018
Preliminary Approval Order.

Plaintiff characterizes its failure to provide the objection deadline on the website as a
“typographical eri'oi'.” But the difference between “deadline for requesting exclusion” and
“deadiine for requesting objection” is hardly a ‘typo’. The result of this ‘error’ was that the
Settlement landing page-~;foi' the entirety offhe notice period excepffor Ii're_fn')a! week be t)re the
objecting deadline'éawfailed to say anything regarding a Class Member’s ability to object, much
less a deadline for doing so. This “mistal<e” is even more indefensible in that Plaintiff admits that
it was aware of the error as of l\/lay 15, 2018 but waited weeks to correct it. Pl. lvlot. at 39

With respect to the failure to post the fee application to the website, this Court’s
Preliminary Approval Order “direct[ed] the dissemination of notice in the form and manner set

forth in the settlement agreement[.}” Apr. 4, 2018 Order, ECF No. 170, at 1, The proposed notice

 

“’ P|aintiff states that the “typographica[ error” was “corrected no later than J u ly 2.” Pl, Mot. at 39, Bnt
the printout provided by Objector to the Court which was printed on .lu|y lst or 2nd (ECF No. l 74-1) shows
that it was stiil not corrected as of that date. lt therefore seems tikeiy that the actual date the mistake was
corrected was July 2nd, when the Fee Application was apparentiy added to the website.

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documents attached to the settlement agreement obligated the parties to post “the motion for the
fees, costs, and expenses...on the settlement website after they are filed.” ECF No. 169-2 at 48.
Yet the parties did not update the settlement website until ten days after the filing, a mere week
before objections were due.”

These are hardly “minor technical errors” as Piaintiff describes them. Pl. Mot. at 41. The
website landing page in many instances is the first and most important communication to Class
l\/lembers regarding the settlement18 Further, errors such as these take on a greater import in
instances where class counsel seek an ‘available benefit’ valuation to calculate attorney’s fees. See
Grtsc!io, 822 F.3d at 287-88.

III. CONCLUSION

For all of the aforementioned reasons, the Court should deny Plaintiff’ s l\/lotion in its

entirety.

DATE: August 2, 2018 R€SP€Cfflfll)’,

é/pm/D
/

Erich Neumann

Attorney and Objector / Class Member
Erich B. Neumann, P.L.

407 Lincoin Road, Suite 2C

Miami Beach, FL 33139

Phone: 305.735.2464

FAX: 305.735.2651

ebn@ebnlaw.com

 

 

'7 Alt|iough Objector claimed that the Fee Application was not available on the website as 0thin 3rd,
it appears the website was updated the evening before the objection was mailed. in any event, it was not
updated until July 2nd.

18 See Finnegan Decl., ECF No. l76-l at till 27-28.

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CERTIFICA'I`E OF SERVIC_E
I hereby certify that the foregoing document was mailed to the following on August 2, 2018:

Clerl< of Courts

Carl B. Stokes U.S. Courthouse
801 W est Superior Avenue
Cleveland, Ohio 441 13

Stuart E. Scott

Spangenberg, Shibley & Liber LLP
1001 Lakeside Avenue East,

Suite 1700

Cleveland, Ohio 441 14

Karl A. Bekeny
Tucker Ellis LLP

950 Main Avenue,
Suite 1100

Cleveland, Ohio 44113

